                   UNITED STATES DISTRICT COURT
                WESTERN DISTRICT OF NORTH CAROLINA
                       STATESVILLE DIVISION

 DANIEL DANFORD and HARRY                  Case No.:
 HOUTMAN, individually and on
 behalf of all other similarly situated    COLLECTIVE AND CLASS
 individuals,                              ACTION COMPLAINT

                Plaintiffs,                JURY DEMAND

 v.

 LOWE’S COMPANIES, INC. and
 LOWE’S HOME CENTERS, LLC,
               Defendants.

      Plaintiffs DANIEL DANFORD and HARRY HOUTMAN (“Plaintiffs”),

individually and on behalf of all others similarly situated, by and through their

attorneys, hereby bring this Collective and Class Action Complaint against

Defendants LOWE’S COMPANIES, INC. and LOWE’S HOME CENTERS, LLC

(“Defendants”), and state as follows:

                                 INTRODUCTION

      1.      This is a collective and class action brought pursuant to 29 U.S.C. §

216(b) and Fed. R. Civ. P. 23 by Plaintiffs, individually and on behalf of all similarly

situated persons employed by Defendants, arising from Defendants’ willful

violations of the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201 et seq., among

other laws.



                                    1
      Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 1 of 35
      2.     Defendants are an American retail company specializing in home

improvement. Headquartered in Mooresville, North Carolina, Defendants operate a

chain of retail stores in the United States, Canada, and Mexico. As of February 2018,

Defendants and their related businesses operate more than 2,390 home improvement

and hardware stores and employ over 310,000 people in North America.

      3.     In order to effectively operate their chain of retail stores, Defendants

employ non-exempt hourly managers, including Department Managers, Service

Managers and Support Managers (hereinafter collectively referred to as “Hourly

Managers”), to supervise and oversee the retail stores, or various departments within

the retail stores, and to manage the retail stores’ employees.

      4.     Defendants require their Hourly Managers to work a full-time schedule,

plus overtime. However, Defendants do not compensate their Hourly Managers for

all hours worked; instead, Defendants require their Hourly Managers to perform

compensable work tasks before and after their scheduled shifts and during their

unpaid meal periods, when they are not clocked into Defendants’ timekeeping

system. These policies result in Hourly Managers not being paid for all time worked,

including overtime.

      5.     More specifically, Defendants maintain and have maintained a policy

and practice of failing to pay Plaintiffs and Hourly Managers for time spent reading

and responding to work-related smartphone communications during non-work



                                   2
     Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 2 of 35
hours, including during unpaid meal periods, or for being required to report early for

work to perform a pre-shift “sweep” of the premises by slowly driving their vehicles

around the outer perimeter of the retail store to ensure that nothing out of the ordinary

has occurred overnight. Plaintiffs and Hourly Managers perform other pre- and post-

shift work tasks that go uncompensated, such as unlocking and locking the main

entrance, arming and disarming the alarm system, and logging into and out of

Defendants’ computer system. Plaintiffs and Hourly Managers spend significant

time performing this off-the-clock work, but Defendants do not compensate them

for it. Because much of this time qualifies as overtime within the meaning of

applicable federal and state laws, Plaintiffs and Hourly Managers are owed overtime

pay for this uncompensated, off-the-clock work.

       6.    The individuals Plaintiffs seek to represent in this action are current and

former Hourly Managers who are similarly situated to each other in terms of their

positions, job duties, pay structure, and Defendants’ violations of federal and state

law.

       7.    Defendants knew or could have easily determined how long it takes

Hourly Managers to complete their off-the-clock work, and Defendants could have

properly compensated Plaintiffs and the putative Collective and Class for this work,

but deliberately chose not to.

       8.    Plaintiffs seek a declaration that their rights, and the rights of the



                                     3
       Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 3 of 35
putative Collective and Class, were violated, an award of unpaid wages and

liquidated damages, injunctive and declaratory relief, attendant penalties, and an

award of attorneys’ fees and costs to make them whole for damages they suffered,

and to ensure that they and future workers will not be subjected by Defendants to

such illegal conduct in the future.

                                  JURISDICTION

      9.     This Court has subject matter jurisdiction over Plaintiffs’ FLSA claims

pursuant to 28 U.S.C. § 1331 because Plaintiffs’ claims raise a federal question under

29 U.S.C. § 201, et seq.

      10.    Additionally, this Court has jurisdiction over Plaintiffs’ FLSA claims

pursuant to 29 U.S.C. § 216(b), which provides that suit under the FLSA “may be

maintained against any employer … in any Federal or State court of competent

jurisdiction.”

      11.    Moreover, this Court has original jurisdiction over this action pursuant

to the Class Action Fairness Act of 2005, 28 U.S.C. § 1332(d). This is a class action

in which the aggregate claims of the individual Class members exceed the sum value

of $5,000,000 exclusive of interest and costs, there are believed to be in excess of

100 Class members, and at least some members of the proposed Class have a

different citizenship than Defendants.

      12.    Defendants’ annual sales exceed $500,000 and Defendants have more



                                   4
     Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 4 of 35
than two employees; thus, the FLSA applies in this case on an enterprise basis.

Defendants’ employees engage in interstate commerce or in the production of goods

for commerce; therefore, they are also covered by the FLSA on an individual basis.

      13.    The Court has supplemental jurisdiction over Plaintiffs’ state law

claims pursuant to 28 U.S.C. § 1367 because the state law claims and the federal

claims are so closely related that they form part of the same case or controversy

under Article III of the United States Constitution.

      14.    The Court is empowered to issue a declaratory judgment pursuant to 28

U.S.C. §§ 2201 and 2202.

      15.    The Court has personal jurisdiction over Defendants because

Defendants are headquartered in the state of North Carolina, conduct business within

the state of North Carolina, employ individuals within the state of North Carolina,

and are registered with the North Carolina Secretary of State.

      16.    Personal jurisdiction also applies to Defendants because Defendants

have purposefully availed themselves of the privilege of conducting activities in the

state of North Carolina and have established minimum contacts sufficient to confer

jurisdiction over them; and the assumption of jurisdiction over Defendants will not

offend traditional notions of fair play and substantial justice and is consistent with

the Constitutional requirements of due process.




                                   5
     Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 5 of 35
                                      VENUE

      17.    Venue is proper in the Western District of North Carolina because

Defendant Lowe’s Companies, Inc. is headquartered in Iredell County, North

Carolina. Therefore, a substantial portion of the events forming the basis of this suit

(including implementation of the illegal pay practices alleged in this litigation)

occurred in the Western District of North Carolina.

                       INTRADISTRICT ASSIGNMENT

      18.    A substantial part of the events or omissions giving rise to the claims

alleged herein occurred in Iredell County, North Carolina; therefore, this action is

properly assigned to the Statesville Division.

                                     PARTIES

      19.    Plaintiff DANIEL DANFORD (“Plaintiff Danford”) is a North

Carolina resident who worked for Defendants as an hourly Department Manager and

Service Manager at their Raleigh, North Carolina retail store at 4601 Capital

Boulevard from March 2011 until October 2018. Defendants compensated Plaintiff

Danford through the payment of an hourly wage of approximately $20.00 per hour.

Plaintiff Danford signed a consent form to join this collective action lawsuit,

attached hereto as Exh. A.

      20.    Plaintiff HARRY HOUTMAN (“Plaintiff Houtman”) is a North

Carolina resident who worked for Defendants as an hourly Department Manager,



                                   6
     Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 6 of 35
Service Manager, and Support Manager at their Raleigh, North Carolina retail store

at 4601 Capital Boulevard from September 2006 until March 2019. Defendants

compensated Plaintiff Houtman through the payment of an hourly wage, most

recently at the rate of $25.97 per hour. (Exh. B, Houtman Pay Stub.) Plaintiff

Houtman signed a consent form to join this collective action lawsuit, attached hereto

as Exh. C.

      21.    Defendant LOWE’S COMPANIES, INC. is a North Carolina

corporation (SosId: 0087443) with a Principal Office at 1000 Lowe’s Blvd,

Mooresville, North Carolina 28117-8520. Defendant Lowe’s Companies, Inc.’s

Registered Agent for service of process is Corporation Service Company.

      22.    According to Defendant Lowe’s Companies, Inc.’s website,

      From its start as a small-town hardware store in North Carolina in 1946,
      Lowe’s has grown to become the nation’s second largest home
      improvement retailer. Today, Lowe’s is the 8th largest retailer in the
      United States with more than 2,370 retail locations and over 290,000
      employees. In 2007, Lowe’s opened its first location in Canada
      followed by Mexico in 2010, giving Lowe’s its international presence.
      And although Lowe’s has changed over the years, our commitment to
      offer quality products at the lowest prices with exceptional customer
      service – remains the same. Our continued success depends upon
      maintaining these traditions, Lowe’s is an active participant in the
      communities we serve and we offer employees an engaging workplace,
      competitive benefits and rewarding career.

See https://jobs.lowes.com/about-us/ (last visited on March 21, 2019).

      23.    Defendant LOWE’S HOME CENTERS, LLC is a North Carolina

limited liability Company (SosId: 0087619) with a Principal Office at 1605 Curtis

                                   7
     Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 7 of 35
Bridge Rd, Wilkesboro, North Carolina 28697-2231. Defendant Lowe’s Home

Centers, LLC’s Registered Agent for service of process is Corporation Service

Company.

      24.    According to business news website Bloomberg.com,

      Lowe’s Home Centers, LLC operates home improvement stores. It
      retails appliances, tools, paints, lumber, and nursery products. …
      Lowe’s Home Centers, LLC was formerly known as Lowe’s
      Investment Corporation. The company was incorporated in 1958 and is
      based in Mooresville, North Carolina. Lowe’s Home Centers, LLC
      operates as a subsidiary of Lowe’s Companies Inc.

See

https://www.bloomberg.com/research/stocks/private/snapshot.asp?privcapId=415

8296 (last visited on March 21, 2019).

      25.    Upon information and belief, Defendants have employed hundreds of

Hourly Managers—including Plaintiffs—in the last three years to perform services

that include supervising and overseeing the retail stores, or various departments

within the retail stores, and managing the retail stores’ employees.

                          GENERAL ALLEGATIONS

      26.    Defendants employed Plaintiffs as Hourly Managers in the state of

North Carolina within the last three years. In that position, Plaintiffs were

compensated pursuant to an hourly wage and typically worked a rotating schedule

consisting of five to six days and up to 40 or more hours each week, resulting in

overtime hours on a weekly basis.


                                    8
      Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 8 of 35
      27.    Throughout their employment with Defendants, Plaintiffs were

required to work a substantial amount of unpaid time, including overtime, as part of

their jobs as Hourly Managers.

      28.    Defendants’ Department Managers are responsible for, among other

things: (a) opening and closing the retail store; (b) leading and enabling a team of

associates to deliver the best possible customer experience in the store by coaching

and training associates, managing performance, and ensuring adequate department

coverage at all times; (c) assuming responsibility for both customer facing activities

(e.g., greeting customers, clarifying needs and identifying solutions, and closing

sales) and non-facing activities (e.g., down stocking, inventory management, and

area recovery); (d) ensuring his/her area of the store is in-stock and customer ready

at all times while inspiring engaging, customer-focused behavior and driving his/her

team to achieve sales and margin goals; (e) keeping management informed,

delegating and following-up on daily tasks, and maintaining a clean, safe and secure

work environment; (f) supervising associates in his/her own area; (g) leading

associates in other departments, as needed, to meet the demands of the store, which

requires broad product knowledge and the ability to engage associates and customers

across departments; (h) at times, serving as manager-on-duty (MOD); and (i) moving

large, bulky and/or heavy merchandise and performing tasks that may require

prolonged standing, sitting, and other activities necessary to perform job duties.



                                   9
     Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 9 of 35
      29.    Defendants’ Service Managers are responsible for, among other things:

(a) opening and closing the retail store; (b) enabling and empowering a team of

Customer Service Associates (CSAs) to deliver the best possible customer service

experience in the store by assuming responsibility for customer facing activities on

the sales floor (e.g., greeting customers, listening and probing to understand needs,

and identifying solutions), as well as non-customer facing activities (e.g., down

stocking, inventory management and area recovery); (c) ensuring department(s) are

customer ready at all times while inspiring engaging, customer-focused behavior,

mitigating and reducing customer complaints, and driving positive first impressions

for customers upon entering the store; (d) coaching, mentoring, training, and

continually monitoring CSAs in their assigned areas; (e) leading CSAs in other

departments, as needed, to meet the demands of the store, which requires broad

product knowledge and the ability to engage employees and customers across

departments; and (f) moving large, bulky and/or heavy merchandise and performing

tasks that may require prolonged standing, sitting, and other activities necessary to

perform job duties.

      30.    Defendants’ Support Managers are responsible for, among other things:

(a) opening and closing the retail store; (b) planning, scheduling, monitoring, and

successfully implementing all non-selling operations in the front-end of the store

(i.e., cashier and administrative functions); (c) facilitating the store’s ability to



                                  10
    Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 10 of 35
provide a superior customer shopping experience and maximize sales and

profitability by overseeing the Administrative office, researching shortages or

overages, depositing cash in the bank, handling register pulls and loans, managing

exchange and loaner accounts, and monitoring Customer Service desk activity; (d)

planning, scheduling, monitoring, and successfully implementing all non-selling

operations in the back-end of the store (during the overnight shift or the Night Ops

role); (e) leading a team responsible for critical support processes including

receiving and stocking inventory, assembling product, and delivery; (f) training

associates, managing performance, and creating schedules for the team to ensure

adequate department coverage at all times; (g) collaborating and communicating

with peers on the leadership team to ensure that critical information is being shared

and to determine the most effective methods for meeting service objectives and

customer needs; and (h) moving large, bulky and/or heavy merchandise and

performing tasks that may require prolonged standing, sitting, and other activities

necessary to perform job duties.

      31.    Defendants require their Hourly Managers to clock in/out for their

shifts but do not accurately record the Hourly Managers’ compensable work time as

required by law. Failing to accurately account and pay for all of the time actually

worked by employees is a clear violation of the FLSA’s record keeping

requirements. See 29 U.S.C. § 211(c).



                                  11
    Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 11 of 35
      32.    Defendants use the computer software program “Kronos” to track

Hourly Managers’ hours worked for purposes of compensation.

      33.    However, because Defendants fail to accurately record their Hourly

Managers’ work time, Defendants’ compensation system fails to properly account

for and compensate Hourly Managers for all time worked, including their overtime

hours, during each day and during each workweek.

      34.    The hours reflected on the Hourly Managers’ paystubs are not accurate,

are contrived by Defendants, and have no relation to the hours the Hourly Managers

actually worked for Defendants.

      35.    This is because Defendants require their Hourly Managers to perform

compensable work tasks before and after their shifts and during their unpaid meal

periods, when they are not clocked into Defendants’ timekeeping system.

      36.    As a result of Defendants’ compensation policy, Plaintiffs and all other

Hourly Managers are deprived of pay for compensable time worked, including

overtime.

      A.     Pre-Shift Off-the-Clock Work

      37.    Plaintiffs and the Hourly Managers work a rotating schedule requiring

them to work five to six days per week and tasking them with the responsibility of

opening the retail store multiple times per week.

      38.    Pursuant to Defendants’ policies, training and direction, Hourly



                                  12
    Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 12 of 35
Managers responsible for opening the retail store are required to perform a series of

essential work tasks before their scheduled shift and before clocking into

Defendants’ time and attendance software. These pre-shift work activities take

substantial time on a daily basis, ranging from 10 to 15 minutes per shift, or even

longer. Before each shift and before clocking in, Hourly Managers responsible for

opening the retail store must undertake the following essential work tasks:

         • Immediately upon arriving at the retail store, the Hourly Manager must
           perform a pre-shift “sweep” of the premises by slowly driving their
           vehicle around the outer perimeter of the retail store to ensure that
           nothing out of the ordinary has occurred overnight (such as burglary,
           vandalism, weather-related damage, or anything else that could pose a
           safety hazard to employees or customers). If the Hourly Manager spots
           anything out of the ordinary, they must exit their vehicle to investigate,
           and, if necessary, extinguish, remove or otherwise eliminate the safety
           hazard.

         • After performing a “sweep” of the retail store’s premises, the Hourly
           Manager must park their vehicle, walk to the main entrance of the retail
           store, and unlock the entrance using a key.

         • After unlocking the main entrance, the Hourly Manager must walk to
           the alarm system and disarm the alarm by punching in a passcode (the
           Hourly Manager has one minute to disarm the alarm system before the
           alarm goes off).

         • After disarming the alarm system, the Hourly Manager must walk back
           to the main entrance to let in any other employees who have arrived for
           the morning shift so that they can get into the store, stow their personal
           belongings, and clock in on time.

         • Finally, the Hourly Manager must walk to Defendants’ desktop
           computer, turn on/wake up the computer, open Google Chrome or
           Internet Explorer by clicking the Google Chrome or Internet Explorer
           icon, search for and log into the Kronos time and attendance software


                                  13
    Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 13 of 35
             using a username and password, and click “Start Shift.”

      39.    The Hourly Managers are not compensated for this time because

Defendants train and instruct the Hourly Managers to perform the above-described

work activities before clocking into the Kronos time and attendance software.

      40.    From the time that the Hourly Managers arrive to work and start

performing the pre-shift “sweep” of the premises until the time that they clock into

Defendants’ Kronos time and attendance software takes substantial time on a daily

basis, ranging from 10 to 15 minutes per shift, or even longer if the Hourly Manager

had to exit his or her vehicle to investigate or resolve a safety hazard, meaning that

the Hourly Manager who opens the retail store performs a minimum of 10 to 15

minutes of off-the-clock work without compensation.

      41.    The unpaid off-the-clock work performed by Plaintiffs and all other

Hourly Managers before their shifts directly benefits Defendants, and the tasks

undertaken in connection with the off-the-clock work are integral and indispensable

to their job duties and responsibilities as Hourly Managers.

      B.     Meal-Period Off-the-Clock Work

      42.    Defendants promise their Hourly Managers one unpaid 60-minute meal

period each shift.

      43.    Under federal law, in order to deduct an unpaid meal period from an

employee’s compensable time, an employee must be completely relieved of his or



                                   14
     Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 14 of 35
her employment duties for the entire meal break. 29 C.F.R. § 785.19(a) states:

      Bona fide meal periods. Bona fide meal periods are not work time.
      Bona fide meal periods do not include coffee breaks or time for snacks.
      These are rest periods. The employee must be completely relieved from
      duty for the purposes of eating regular meals. Ordinarily 30 minutes or
      more is long enough for a bona fide meal period. A shorter period may
      be long enough under special conditions. The employee is not relieved
      if he is required to perform any duties, whether active or inactive, while
      eating. For example, an office employee who is required to eat at his
      desk or a factory worker who is required to be at his machine is working
      while eating. (emphasis added).

      44.    Defendants do not provide Hourly Managers with bona fide meal

periods because they require the Hourly Managers to read and respond to work-

related smartphone communications during their unpaid meal breaks.

      45.    The work performed by Hourly Managers during their unpaid meal

breaks takes substantial time on a daily basis, in the range of 5 minutes per shift or

more, but Hourly Managers are not paid for this time.

      C.     Post-Shift Off-the-Clock Work

      46.    Plaintiffs and the Hourly Managers work a rotating schedule requiring

them to work five to six days per week and tasking them with the responsibility of

closing the retail store multiple times per week. For security reasons, Hourly

Managers typically close the retail store in pairs, as it is rare for Hourly Managers to

close the store alone.

      47.    Pursuant to Defendants’ policies, training and direction, Hourly

Managers responsible for closing the retail store are required to perform a series of

                                   15
     Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 15 of 35
essential work tasks after their scheduled shift and after clocking out of Defendants’

time and attendance software. After each shift and after clocking out, Hourly

Managers responsible for closing the retail store must walk to the alarm system and

arm the alarm by punching in a passcode. Then, the Hourly Managers must walk to

the main entrance, and, subsequent to exiting the store, close the main entrance, lock

it using a key, and ensure that the main entrance is securely locked. This post-shift

process takes substantial time on a daily basis, in the range of 2 to 3 minutes per

shift, but can take upwards of 10 to 15 minutes or more if the Hourly Managers

encounter security issues while attempting to arm the alarm system.

      48.    Oftentimes, when attempting to arm the alarm system, the system will

display a warning or error message alerting the Hourly Managers of a security issue,

such as a partially open or unlocked door, that needs to be resolved before the system

can be properly armed. The Hourly Managers must then walk to the area of the store

that is the source of the security issue, resolve the issue, walk back to the main

entrance where the alarm system is located, and arm the alarm system.

      49.    After arming the alarm system and securely locking the main entrance,

it is not unusual for the Hourly Managers to observe unattended shopping carts or

flatbeds in the parking lot because the hourly staff responsible for the carts either

failed to retrieve them or retrieved them early and then there were late customers

bringing carts out. Thus, it is not atypical for Hourly Managers to retrieve and collect



                                   16
     Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 16 of 35
shopping carts and flatbeds even after having already clocked out and locking the

main entrance.

         50.   The unpaid off-the-clock work performed by Plaintiffs and Hourly

Managers after their shifts directly benefits Defendants, and the tasks undertaken in

connection with the off-the-clock work are integral and indispensable to their job

duties and responsibilities as Hourly Managers.

         D.    Off-the-Clock Smartphone Communications

         51.   In addition to the pre-shift, meal-period, and post-shift off-the-clock

work activities described above, Hourly Managers are also required to perform

substantial amounts of off-the-clock work when they are off-duty and not at the retail

store.

         52.   Pursuant to Defendants’ policies, training and direction, Hourly

Managers are required to read and respond to work-related smartphone

communications during non-work hours using the WhatsApp Messenger

(“WhatsApp”), a free to download messenger application for smartphones.

WhatsApp uses the internet to send messages, images, audio or video. The service

is very similar to text messaging services, however, because WhatsApp uses the

internet to send messages, the cost of using WhatsApp is significantly less than

texting. Relevant here, WhatsApp allows users to communicate with each other in

groups of individual users, meaning users can communicate with multiple people at



                                   17
     Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 17 of 35
the same time.

      53.    Defendants’ Store Manager expressly instructed Plaintiffs and the

Hourly Managers to (a) download and install WhatsApp onto their smartphones; (b)

accept an invitation from the Store Manager to join a group chat consisting of all of

the retail store’s salaried and hourly managers, including the Store Manager,

Assistant Store Managers, Service Managers, and Support Managers; and (c)

promptly respond to any work-related messages that are directed to them or that are

otherwise within their sphere of responsibility, meaning that each Hourly Manager

is required to read each and every message sent by any other user who is a member

of the group chat, even if the message is not directed to them or is otherwise not

within their sphere of responsibility.

      54.    Reading and responding to these work-related messages during non-

work hours takes substantial time, generally anywhere from 15 to 20 or more

minutes per day, but Hourly Managers are not compensated for this time.

      E.     Exemplary Pay-Period to Illustrate Off-the-Clock Compensation
             Deficiencies
      55.    An example of specific workweeks where Defendants failed to pay

Plaintiffs all overtime due for hours worked in excess of 40 hours (as mandated by

the FLSA) includes the following:

                      Pay Period of 01/26/2019 to 02/08/2019

      • Plaintiff Houtman was paid at a rate of $25.97 per hour for his 40.00


                                   18
     Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 18 of 35
             regular hours and $39.03629 per hour for 2.48 overtime hours.

       • With unpaid pre-shift, meal-period, and post-shift time, as well as unpaid
         off-the-clock smartphone communications, in a range of 32 to 43 minutes
         per shift, at five shifts per week, Plaintiff Houtman should have been paid
         an additional 160-215 minutes at his overtime rate of $39.03629 during the
         pay period.
Exh. B, Houtman Pay Stub.

       F.       Defendants Benefited from the Uncompensated Off-the-Clock

Work

       56.      At all relevant times, Defendants directed and directly benefited from

the work performed by Plaintiffs and similarly situated employees in connection

with the above-described off-the-clock activities performed by Hourly Managers.

       57.      At all relevant times, Defendants controlled the work schedules, duties,

protocols, applications, assignments and employment conditions of their Hourly

Managers.

       58.      At all relevant times, Defendants were able to track the amount of time

Hourly Managers spent in connection with the off-the-clock activities. However,

Defendants failed to do so and failed to compensate Hourly Managers for the off-

the-clock work they performed.

       59.      At all relevant times, Hourly Managers were non-exempt employees,

subject to the requirements of the FLSA.

       60.      At all relevant times, Defendants used their attendance and adherence



                                  19
    Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 19 of 35
policies against the Hourly Managers in order to pressure them into performing the

off-the-clock work.

      61.    At all relevant times, Defendants’ policies and practices deprived

Hourly Managers of wages owed for the off-the-clock activities they performed.

Because Defendants’ Hourly Managers typically worked 40 hours or more in a

workweek, Defendants’ policies and practices also deprived them of overtime pay.

      62.    Defendants knew or should have known that the time spent by Hourly

Managers in connection with the off-the-clock activities was compensable under the

law. Indeed, in light of Defendants’ express instructions to the Hourly Managers that

(a) they were required to perform a pre-shift “sweep” of the premises before entering

the retail store and clocking in, and (b) they were required to promptly respond to

work-related smartphone communications that were directed to them or that were

otherwise within their sphere of responsibility, there is no conceivable way for

Defendants to establish that they acted in good faith.

      63.    Despite knowing Hourly Managers performed work before and after

their scheduled shifts and during their unpaid meal breaks, Defendants failed to

make any effort to stop or disallow the off-the-clock work and instead suffered and

permitted it to happen.

      64.    Unpaid wages related to the off-the-clock work described herein are

owed to Hourly Managers at the FLSA mandated overtime premium of one and one-



                                  20
    Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 20 of 35
half their regular hourly rate because Hourly Managers regularly worked in excess

of 40 hours in a workweek.

               FLSA COLLECTIVE ACTION ALLEGATIONS

      65.    Plaintiffs bring this action pursuant to 29 U.S.C. § 216(b) of the FLSA

on their own behalf and on behalf of:

      All similarly situated current and former hourly managers who work
      or have worked for Defendants at any of their retail locations at any
      time during the three years preceding the filing of this Complaint
      through judgment.
(hereinafter referred to as the “FLSA Collective”). Plaintiffs reserve the right to

amend this definition if necessary.

      66.    Defendants are liable under the FLSA for, inter alia, failing to properly

compensate Plaintiffs and other similarly situated Hourly Managers.

      67.    Excluded from the FLSA Collective are Defendants’ executives and

administrative and professional employees, including computer professionals and

outside salespersons.

      68.    Consistent with Defendants’ policy and pattern or practice, Plaintiffs

and the FLSA Collective were not paid premium overtime compensation when they

worked beyond 40 hours in a workweek.

      69.    Defendants assigned and/or were aware of all of the work that Plaintiffs

and the FLSA Collective performed.

      70.    As part of their regular business practices, Defendants intentionally,


                                  21
    Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 21 of 35
willfully and repeatedly engaged in a pattern, practice and/or policy of violating the

FLSA with respect to Plaintiffs and the FLSA Collective. This policy and pattern or

practice includes, but is not limited to:

              a.    Willfully failing to pay their employees, including Plaintiffs and
                    the FLSA Collective, premium overtime wages for hours worked
                    in excess of 40 hours per workweek; and
              b.    Willfully failing to record all of the time that their employees,
                    including Plaintiffs and the FLSA Collective, worked for the
                    benefit of Defendants.

      71.     Defendants are aware or should have been aware that federal law

required them to pay Plaintiffs and the FLSA Collective overtime premiums for

hours worked in excess of 40 per workweek.

      72.     Defendants’ unlawful conduct has been widespread, repeated and

consistent.

      73.     A collective action under the FLSA is appropriate because the

employees described above are “similarly situated” to Plaintiffs under 29 U.S.C. §

216(b). The employees on behalf of whom Plaintiffs bring this collective action are

similarly situated because (a) they have been or are employed in the same or similar

positions; (b) they were or are performing the same or similar job duties; (c) they

were or are subject to the same or similar unlawful practices, policy, or plan; and (d)

their claims are based upon the same factual and legal theories.

      74.     The employment relationships between Defendants and every proposed



                                   22
     Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 22 of 35
FLSA Collective member are the same. The key issues - the amount of

uncompensated pre-shift, meal-period, and post-shift time and the amount of time

spent reading and responding to work-related smartphone communications during

non-work hours - do not vary substantially among the proposed FLSA Collective

members.

      75.    Many similarly situated current and former Hourly Managers have been

underpaid in violation of the FLSA and would benefit from the issuance of a court-

supervised notice of this lawsuit and the opportunity to join it.

      76.    Court-supervised notice of this lawsuit should be sent to the FLSA

Collective pursuant to 29 U.S.C. § 216(b).

      77.    Those similarly situated employees are known to Defendants, are

readily identifiable, and can be located through Defendants’ records.

      78.    Plaintiffs estimate the proposed FLSA Collective, including both

current and former employees over the relevant period, will include hundreds of

workers. The precise number of FLSA Collective members should be readily

available from a review of Defendants’ personnel and payroll records.

                  RULE 23 CLASS ACTION ALLEGATIONS

      79.    Plaintiffs bring this action pursuant to Fed. R. Civ. P. 23(b)(3) on their

own behalf and on behalf of the following classes:

             All similarly situated current and former hourly managers who
             work or have worked for Defendants at any of their retail stores

                                   23
     Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 23 of 35
             in North Carolina at any time during the applicable statutory
             period.

(hereinafter referred to as the “Rule 23 North Carolina Class”). Plaintiffs reserve the

right to amend the putative class definition if necessary.

             All similarly situated current and former hourly managers who
             work or have worked for Defendants at any of their retail stores
             at any time during the applicable statutory period.

(hereinafter referred to as the “Rule 23 Nationwide Class”). Plaintiffs reserve the

right to amend the putative class definition if necessary.

      80.    Excluded from the Rule 23 Classes are Defendants’ exempt executives

and administrative and professional employees, including computer professionals

and outside sales persons.

      81.    The Rule 23 Classes are so numerous that joinder of all Rule 23 Class

members in this case would be impractical. Plaintiffs reasonably estimate there are

hundreds of Rule 23 Class members. Rule 23 Class members should be easy to

identify from Defendants’ computer systems and electronic payroll and personnel

records.

      82.    There is a well-defined community of interest among Rule 23 North

Carolina Class members and common questions of law and fact predominate in this

action over any questions affecting individual members of the Rule 23 North

Carolina Class. These common legal and factual questions include, but are not

limited to, the following:


                                   24
     Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 24 of 35
             a.     Whether Plaintiffs and the Rule 23 North Carolina Class were
                    compensated at a rate of one-and-one-half times their regular
                    hourly rate for all hours worked in excess of 40 in a workweek
                    pursuant to North Carolina state wage and hour laws;

             b.     Whether the time spent by Plaintiffs and the Rule 23 North
                    Carolina Class performing off-the-clock work tasks is
                    compensable under North Carolina state wage and hour laws;
                    and
             c.     The proper measure of damages sustained by Plaintiffs and the
                    Rule 23 North Carolina Class.

      83.    There is a well-defined community of interest among Rule 23

Nationwide Class members and common questions of law and fact predominate in

this action over any questions affecting individual members of the Rule 23

Nationwide Class. These common legal and factual questions include, but are not

limited to, the following:

             a.     Whether the time Rule 23 Nationwide Class members spent on
                    pre-shift, mid-shift and post-shift off-the-clock work activities is
                    compensable time;

             b.     Whether Rule 23 Nationwide Class members are owed wages for
                    time spent performing off-the-clock work activities, and, if so,
                    the appropriate amount thereof; and

             c.     Whether Defendants’ non-payment of wages for all compensable
                    time amounted to a breach of contract and/or unjust enrichment.
      84.    Plaintiffs’ claims are typical of those of the Rule 23 Classes in that they

and all other Rule 23 Class members suffered damages as a direct and proximate

result of Defendants’ common and systemic payroll policies and practices.

Plaintiffs’ claims arise from the same policies, practices, promises and course of

                                   25
     Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 25 of 35
conduct as all other Rule 23 Class members’ claims, and their legal theories are

based on the same legal theories as all other Rule 23 Class members.

      85.    Plaintiffs will fully and adequately protect the interests of the Rule 23

Classes and have retained counsel who are qualified and experienced in the

prosecution of nationwide wage and hour class actions. Neither Plaintiffs nor their

counsel have interests that are contrary to, or conflicting with, the interests of the

Rule 23 Classes.

      86.    A class action is superior to other available methods for the fair and

efficient adjudication of this controversy because, inter alia, it is economically

infeasible for Rule 23 Class members to prosecute individual actions of their own

given the relatively small amount of damages at stake for each individual along with

the fear of reprisal by their employer. Prosecution of this case as a Rule 23 Class

action will also eliminate the possibility of duplicative lawsuits being filed in state

and federal courts throughout the nation.

      87.    This case will be manageable as a Rule 23 Class action. Plaintiffs and

their counsel know of no unusual difficulties in this case, and Defendants have

advanced, networked computer and payroll systems that will allow the class, wage,

and damages issues in this case to be resolved with relative ease.

      88.    Because the elements of Rule 23(b)(3) are satisfied in this case, class

certification is appropriate. Shady Grove Orthopedic Associates, P.A. v. Allstate Ins.



                                   26
     Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 26 of 35
Co., 559 U.S. 393, 398 (2010) (“By its terms [Rule 23] creates a categorical rule

entitling a plaintiff whose suit meets the specified criteria to pursue his claim as a

class action”).

      89.    Because Defendants acted and refused to act on grounds that apply

generally to the Rule 23 Classes and declaratory relief is appropriate in this case with

respect to the Rule 23 Classes as a whole, class certification pursuant to Rule

23(b)(2) is also appropriate.

                                    COUNT I
                      (29 U.S.C. § 216(b) Collective Action)
                  VIOLATION OF FLSA, 29 U.S.C. § 201, et seq.
                    FAILURE TO PAY OVERTIME WAGES
      90.    Plaintiffs re-allege and incorporate all previous paragraphs herein.

      91.    At all times relevant to this action, Defendants were engaged in

interstate commerce, or in the production of goods for commerce, as defined by the

FLSA.

      92.    At all times relevant to this action, Plaintiffs and the FLSA Collective

were “employees” of Defendants within the meaning of 29 U.S.C. § 203(e)(1) of the

FLSA.

      93.    Plaintiffs and the FLSA Collective, by virtue of their job duties and

activities actually performed, are all non-exempt employees.

      94.    Plaintiffs and the FLSA Collective either: (1) engaged in commerce; or

(2) engaged in the production of goods for commerce; or (3) were employed in an


                                   27
     Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 27 of 35
enterprise engaged in commerce or in the production of goods for commerce.

      95.    At all times relevant to this action, Defendants “suffered or permitted”

Plaintiffs and the FLSA Collective to work and thus “employed” them within the

meaning of 29 U.S.C. § 203(g) of the FLSA.

      96.    At all times relevant to this action, Defendants required Plaintiffs and

the FLSA Collective to perform (a) no less than 10 to 15 minutes of off-the-clock

work during shifts in which they opened the retail store, (b) no less than 5 minutes of

off-the-clock work per shift during their unpaid meal breaks, (c) no less than 2 to 3

minutes of off-the-clock work during shifts in which they closed the retail store, and

(d) no less than 15 to 20 minutes of off-the-clock work each day in connection with

the requirement that they promptly read and respond to work-related smartphone

communications during non-work hours. Nevertheless, Defendants failed to pay

Plaintiffs and the FLSA Collective the federally mandated overtime compensation

for the off-the-clock work.

      97.    The off-the-clock work performed every shift by Plaintiffs and the

FLSA Collective was an essential part of their jobs, and these activities and the time

associated with these activities were not de minimis.

      98.    In workweeks where Plaintiffs and other FLSA Collective members

worked 40 hours or more, the uncompensated off-the-clock work time, and all other

overtime, should have been paid at the federally mandated rate of one and one-half



                                   28
     Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 28 of 35
times each employee’s regular hourly wage, including shift differentials and

nondiscretionary incentive pay where applicable. 29 U.S.C. § 207.

      99.    Defendants’ FLSA violations were knowing and willful. Defendants

knew or could have determined how long it takes Plaintiffs and the FLSA Collective

to perform their off-the-clock work. Further, Defendants could have easily

accounted for and properly compensated Plaintiffs and the FLSA Collective for

these work activities, but deliberately chose not to.

      100. The FLSA, 29 U.S.C. § 216(b), provides that as a remedy for a violation

of the Act, an employee is entitled to his or her unpaid wages (including unpaid

overtime), plus an additional equal amount in liquidated damages (double damages),

plus costs and reasonable attorneys’ fees.

                           COUNT II
           RULE 23 NORTH CAROLINA CLASS ACTION
     VIOLATIONS OF NORTH CAROLINA WAGE AND HOUR ACT
                    N.C.G.S. §§ 95-25.1, et seq.
      101. Plaintiffs re-allege and incorporate all previous paragraphs herein.

      102. At all times relevant to the action, Defendants were employers covered

by the overtime mandates of the North Carolina Wage and Hour Act (“NCWHA”),

N.C.G.S. §§ 95-25.1, et seq., and Plaintiffs and the Rule 23 North Carolina Class are

employees entitled to the NCWHA’s protections.

      103. The NCWHA entitles employees to compensation for every hour

worked in a workweek. See N.C.G.S. § 95-25.3.


                                   29
     Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 29 of 35
      104. The NCWHA entitles employees to overtime compensation “not less

than time and one-half of the regular rate of pay of the employee for those hours in

excess of 40 hours per week.” See N.C.G.S. § 95-25.4.

      105. Defendants and the Rule 23 North Carolina Class members are

“employers” and “employees” for the purposes of the NCWHA.

      106. Defendants violated the NCWHA by regularly and repeatedly failing to

compensate Plaintiffs and the Rule 23 North Carolina Class for the time spent on the

work activities described in this Complaint.

      107. As a result, Plaintiffs and the Rule 23 North Carolina Class have and

will continue to suffer loss of income and other damages. Accordingly, Plaintiffs and

the Rule 23 North Carolina Class are entitled to recover unpaid wages owed, plus

costs and attorneys’ fees, and other appropriate relief under the NCWHA at an

amount to be proven at trial. See N.C.G.S. § 95-25.22.

                              COUNT III
                  RULE 23 NATIONWIDE CLASS ACTION
                        BREACH OF CONTRACT
      108. Plaintiffs re-allege and incorporate all previous paragraphs herein.

      109. At all times relevant to this action, Defendants had a contract with

Plaintiffs and every other Rule 23 Nationwide Class member to pay each employee

for each hour they worked at a pre-established (contractual) regular hourly rate.

      110. Each Rule 23 Nationwide Class member’s contractual hourly rate is



                                  30
    Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 30 of 35
identified in paystubs and other records that Defendants prepare as part of their

regular business activities.

      111. Plaintiffs and every other Rule 23 Nationwide Class member performed

under the contracts by doing their jobs and carrying out the off-the-clock activities

that Defendants required or accepted.

      112. By not paying Plaintiffs and every other Rule 23 Nationwide Class

member the agreed upon hourly wage for all of the work they performed each shift,

Defendants systematically breached their contracts with Plaintiffs and each member

of the Rule 23 Nationwide Class.

      113. Plaintiffs’ and the Rule 23 Nationwide Class members’ remedies under

the FLSA are inadequate in this case to the extent Defendants paid them more than

the federally mandated minimum wage of $7.25 per hour but less than 40 hours per

week (i.e., pure gap time claims).

      114. Defendants also breached their duty of good faith and fair dealing by

failing to keep track of the time Plaintiffs and other Rule 23 Nationwide Class

members spent performing off-the-clock activities, which is a fundamental part of

an employer’s job.

      115. As a direct and proximate result of Defendants’ breaches of the

contracts alleged herein, Plaintiffs and every other member of the Rule 23

Nationwide Class have been damaged, in an amount to be determined at trial.



                                   31
     Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 31 of 35
                               COUNT IV
                   RULE 23 NATIONWIDE CLASS ACTION
                          UNJUST ENRICHMENT
      116. Plaintiffs re-allege and incorporate all previous paragraphs herein.

      117. This Count is pled in the alternative to Count III, supra, pursuant to

Fed. R. Civ. P. 8(d)(2)-(3).

      118. At all times relevant to this action, Defendants promised Plaintiffs and

every other Rule 23 Nationwide Class member a pre-established regular hourly rate

in consideration of the work duties Plaintiffs and the Rule 23 Nationwide Class

members performed for the benefit of Defendants.

      119. Plaintiffs and every other Rule 23 Nationwide Class member relied

upon Defendants’ promise for the pre-established regular hourly rate and performed

by doing their jobs and carrying out their required work duties.

      120. By not paying Plaintiffs and every other Rule 23 Nationwide Class

member the agreed upon hourly wage for the off-the-clock work they performed each

shift, Defendants were unjustly enriched.

      121. Plaintiffs and the Rule 23 Nationwide Class members performed off-

the-clock work tasks at the request of and without objection by Defendants.

      122. Defendants received and accepted the above-referenced off-the-clock

work services from Plaintiffs and every other Rule 23 Nationwide Class member and

enjoyed the benefits derived therefrom.



                                   32
     Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 32 of 35
      123. Upon information and belief, Defendants used the monies owed to

Plaintiffs and every other Rule 23 Nationwide Class member to finance their various

business ventures or pay their equity owners.

      124. Defendants have been unjustly enriched by the retention of monies

received pursuant to the services Plaintiffs and the Rule 23 Nationwide Class

performed for Defendants’ benefit, without having compensated Plaintiffs and the

Rule 23 Nationwide Class for the same.

      125. Plaintiffs and the Rule 23 Nationwide Class suffered detriment due to

Defendants’ failure to compensate them for the off-the-clock work described herein,

in that Plaintiffs and the Rule 23 Nationwide Class were deprived of the ability to

utilize that time, effort and their resources in a profitable manner.

      126. As a direct and proximate result of Defendants’ actions, Plaintiffs and

every other Rule 23 Nationwide Class member suffered damages, including but not

limited to, loss of wages.

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs, on their own behalf and on behalf of the putative

FLSA Collective and Rule 23 Classes, request judgment as follows:

      a.     Certifying this case as a collective action in accordance with 29 U.S.C.
             § 216(b) with respect to the FLSA claims set forth herein (Count I);

      b.     Certifying this action as a class action (for the Rule 23 North Carolina
             Class) pursuant to Rule 23(b)(2) and (b)(3) with respect to Plaintiffs’
             North Carolina state law claims (Count II);


                                   33
     Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 33 of 35
 c.    Certifying this action as a class action (for the Rule 23 Nationwide
       Class) pursuant to Rule 23(b)(2) and (b)(3) with respect to Plaintiffs’
       breach of contract and unjust enrichment claims (Counts III-IV);

 d.    Ordering Defendants to disclose in computer format, or in print if no
       computer readable format is available, the names and addresses of all
       collective action Class members and Rule 23 Class members, and
       permitting Plaintiffs to send notice of this action to all those similarly
       situated individuals, including the publishing of notice in a manner that
       is reasonably calculated to apprise the Class members of their rights by
       law to join and participate in this lawsuit;

 e.    Designating Plaintiffs as the representatives of the FLSA collective
       action Class and the Rule 23 Classes, and undersigned counsel as Class
       counsel for the same;

 f.    Declaring Defendants violated the FLSA as cited herein;

 g.    Declaring Defendants’ violations of the FLSA were willful;
 h.    Declaring Defendants violated North Carolina state wage and hour law
       as cited herein;

 i.    Declaring Defendants’ violations of North Carolina state wage and
       hour law were willful;

 j.    Declaring Defendants breached their contracts with Plaintiffs and the
       members of the Rule 23 Nationwide Class (or, in the alternative, that
       Defendants were unjustly enriched) by failing to pay them for each hour
       they worked at a pre-established (contractual) regularly hourly rate;

 k.    Granting judgment in favor of Plaintiffs and against Defendants and
       awarding Plaintiffs and the collective action Class and the Rule 23
       Classes the full amount of damages and liquidated damages available
       by law;

 l.    Awarding reasonable attorneys’ fees and costs incurred by Plaintiffs in
       filing this action as provided by statute;

 m.    Awarding pre- and post-judgment interest to Plaintiffs on these
       damages; and

 n.    Awarding such other and further relief as this Court deems appropriate.

                              34
Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 34 of 35
                                 JURY DEMAND

      Plaintiffs, individually and on behalf of all others similarly situated, by and

through their attorneys, hereby demand a trial by jury pursuant to Rule 38 of the

Federal Rules of Civil Procedure and the court rules and statutes made and provided

with respect to the above-entitled cause.


                                             Respectfully Submitted,


Dated: April 10, 2019                        s/ James J. Mills
                                             James J. Mills, NC Bar No. 36529
                                             BURNS, DAY & PRESNELL, P.A.
                                             2626 Glenwood Avenue, Suite 560
                                             Raleigh, North Carolina 27608
                                             Phone: (919) 782-1441
                                             jmills@bdppa.com

                                             Kevin J. Stoops (will pro hac vice)
                                             Rod M. Johnston (will pro hac vice)
                                             SOMMERS SCHWARTZ, P.C.
                                             One Towne Square, 17th Floor
                                             Southfield, Michigan 48076
                                             Phone: (248) 355-0300
                                             kstoops@sommerspc.com
                                             rjohnston@sommerspc.com
                                             Attorneys for Plaintiffs and the
                                             putative Class/Collective action
                                             members




                                  35
    Case 5:19-cv-00041-FDW-DCK Document 1 Filed 04/11/19 Page 35 of 35
